            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
      vs.                               )     No: 22-03022-01-CR-S-BP
                                        )
LARVERN E. HALE,                        )
                                        )
                       Defendant.       )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


      The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts Two and Three of the Indictment

filed on February 22, 2022.         After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in

Rule 11, I determined that the guilty pleas were knowledgeable and

voluntary, and that the offenses charged are supported by a factual

basis for each of the essential elements of the offenses.                  I

therefore recommend that the pleas of guilty be accepted and that

the   Defendant   be   adjudged   guilty    and   have   sentence     imposed

accordingly.



Date: April 28, 2022                 /s/ David P. Rush
                                    DAVID P. RUSH
                                    UNITED STATES MAGISTRATE JUDGE




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                                  NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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